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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )       06-CR-00288-WHA-02
                                                  )
15           Plaintiff,                           )
                                                  )
16                                                )       STIPULATION AND [PROPOSED]
                                                  )       ORDER EXCLUDING TIME
17      v.                                        )
                                                  )
18                                                )
     JACQUELINE BISHOP,                           )
19                                                )
             Defendant.                           )
20                                                )
21
               The above-captioned matter came before the Court on May 25, 2006. The defendant
22
     was represented by Assistant Public Defender David W. Fermino and the government was
23
     represented by William C. Martin, Assistant United States Attorney. The Court then set June 6,
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     2006 as the next appearance in this case before Judge William H. Alsup.
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               The Court made a finding on the record that the time from and including May 25, 2006
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     through and including June 6, 2006 should be excluded under the Speedy Trial Act, 18 U.S.C.
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     § 3161(h)(8)(A), because the ends of justice served by taking such action outweighed the best
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     interest of the public and the defendant in a speedy trial. That finding was based on the need for
     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIM E
     06-CR-00288-W HA-02
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1
     the government and the defendant to have reasonable time necessary for effective preparation and
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     the need for continuity of defense counsel, taking into account the exercise of due diligence
3
     pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
4
            The parties hereby agree to and request that this case be set before Judge Alsup on June 6,
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     2006, and that the exclusion of time until then be granted. The parties agree and stipulate that the
6
     additional time is appropriate and necessary under 18 U.S.C. §§ 3161(h)(8)(A) for all the
7
     reasons stated above.
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9
10
     DATED: June 6, 2006                                    /s/
11                                                  DAVID W. FERMINO
                                                    Attorney for Defendant
12
13
     DATED: June 6, 2006                                    /s/
14                                                  WILLIAM C. MARTIN
                                                    Assistant Untied States Attorney
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16   So ordered.                                            TA                       O
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17   DATED: 6/2/06                                                                     RT
                                                    ELIZABETH D. LAPORTE
                                                  UNIT




18                                                  UNITED STATES MAGISTRATE JUDGE            R NIA

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     STIPULATION AND [PROPOSED]
     ORDER EXCLUDING TIM E
     06-CR-00288-W HA-02                               2
